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 1                                                                       HONORABLE RONALD B. LEIGHTON
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 8                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 9                                                AT TACOMA
10      UNITED STATES OF AMERICA,
11                                                             Case No. CR05-5797 RBL
                                 Plaintiff,
12                       v.                                    ORDER
13      MARCY GOODSON,
14                               Defendant.
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17           THIS MATTER comes on before the above-entitled Court upon Defendant Goodson’s Motion to

18   Sever Defendants for Trial [Dkt. #34] and Defendant Lund’s Motion to Join Co-Defendant’s Motion to Sever

19   [Dkt. #39].

20           Having considered the entirety of the records and file herein, the Court rules as follows:

21           The defendants are charged in a two-count Indictment with conspiracy to distribute methamphetamine

22   and possession of methamphetamine with the intent to distribute. The charges arose out of a search warrant

23   issued for firearms and ammunition executed at the defendants’ residence.1 Defendant Goodson has moved

24   to sever her properly joined trial from that of her co-defendant arguing that their defenses are mutually

25   exclusive. For the reasons stated herein, defendant Goodson’s motion to sever will be denied without

26   prejudice.

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             The search and the evidence obtained therefrom are the subject of a separate motion to suppress filed by defendant
     Goodson [Dkt. #19] and joined by defendant Lund [Dkt. #39].

     ORDER
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 1                                                           DISCUSSION
 2           Fed. R. Crim. P. 8(b) states that “[t]wo or more defendants may be charged in the same indictment
 3   or information if they are alleged to have participated in the same act or transaction or in the same series of
 4   acts or transactions constituting an offense or offenses.” However, Fed. R. Crim. P. 14 states in part that
 5   “[i]f it appears that a defendant . . . is prejudiced by a joinder of . . . defendants in an indictment . . . the
 6   court may . . . grant a severance of trials or provide whatever other relief justice requires.” There is a
 7   substantial public interest in a joint trial of defendants indicted together, United States v Camacho, 528
 8   F.2d 464, 470 (9th Cir. 1976), and the interests of justice are served by the avoidance of inconsistent
 9   verdicts. Zafiro v. United States, 506 U.S. 534, 537 (1993). “To be entitled to severance on the basis of
10   mutually exclusive defenses, a defendant must show that the core of the codefendant’s defense is so
11   irreconcilable with the core of his own defense that the acceptance of the codefendant’s theory by the jury
12   precludes acquittal of the defendant.” United States v. Throckmorton, 87 F.3d 1069, 1072 (9th Cir. 1996),
13   cert. denied, 519 U.S. 1132 (1997). It is the defendant’s burden to show clear, manifest, or undue
14   prejudice from a joint trial. United States v. Vasquez-Velasco, 15 F.3d 833, 845 (9th Cir. 1994).
15           Goodson’s defense will be that, in spite of her statement that the cash and drugs found during the
16   search were hers,2 the cash and drugs belonged to her co-defendant and that she was forced by Lund to
17   admit they were hers. Goodson has provided the Court with what may possibly be Lund’s defense (that
18   the drugs and cash were Goodson’s) and although Lund has joined in the motion, he has not explicitly set
19   forth his defense theory. Because the defendant has not met her burden at this time to demonstrate that the
20   defenses are mutually exclusive, it is hereby
21           ORDERED that Defendant Goodson’s Motion to Sever Defendants for Trial [Dkt. #34] is
22   DENIED without prejudice; and, it is further
23           ORDERED that Defendant Lund’s Motion to Join Co-Defendant’s Motion to Sever [Dkt. #39] is
24   GRANTED.
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                 Goodson’s statement is the subject of a separate motion to suppress {Dkt. #18].

     ORDER
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 1          The Clerk shall send uncertified copies of this order to all counsel of record, and to any party
 2   appearing pro se.
 3          Dated this 25th day of April, 2006.


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                                           RONALD B. LEIGHTON
 6                                         UNITED STATES DISTRICT JUDGE
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     ORDER
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